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                                    1678                                                                                                                                  EXHIBIT 12




 From: Ned Pillersdorf <pillersn@gmail.com>
 Date: December 14, 2023 at 6:32:45 PM EST
 Subject: Re: River Caney Site Visit
 To: Johnson, Kristeena <Kristeena.Johnson@DINSMORE.COM>
 Cc: Darrell Herald <dah41339@yahoo.com>

 Agreeable . Let me know the timing so we can join you. Ned Pillersdorf

 On Thu, Dec 14, 2023, 4:12 PM Johnson, Kristeena <Kristeena.Johnson@dinsmore.com> wrote:
        Ned,

        We would like to do a site inspection in River Caney on December 28 th. I don’t
        believe we will need to enter anyone’s home, but may potentially need to be on
        their property for the site visit. Can you let me know if this is agreeable?

        Thank you,

        Kristeena
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        Kristeena L. Johnson
        Partner
        Dinsmore & Shohl LLP • Legal Counsel
        City Center
        100 West Main St
        Suite 900
        Lexington, KY 40507
        T (859) 425-1032 • F (859) 425-1099
        E kristeena.johnson@dinsmore.com • dinsmore.com

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             location.




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